     Case 5:17-cv-00825-GTS-DEP Document 18 Filed 12/01/17 Page 1 of 2



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

CHARLES VALENTINE and
BERTHA HOLLOWAY,

                    Plaintiff,
      vs.                                       CIVIL NO. 5:17-CV-825 (GTS/DEP)

ALLSTATE INDEMNITY COMPANY,
ALLSTATE VEHICLE AND PROPERTY
INSURANCE COMPANY, and
ALLSTATE INSURANCE COMPANY,

                    Defendants.


        ORDER DISMISSING ACTION BY REASON OF SETTLEMENT

      The Court having been advised by counsel that the parties in this action have

entered into an agreement in settlement of all claims in this action, and that they

reasonably anticipate finalizing their agreement shortly; and counsel having also

advised that no infant or incompetent is a party to this action, based upon this

development, I find that it is not necessary for this action to remain on the calendar

of the Court. Accordingly, it is hereby

      ORDERED that this action is DISMISSED in its entirety, without costs, and

without prejudice pursuant to the procedure as set forth in L.R. 68.2(a) of the Local

Rules of this court. This order is issued without prejudice to the right of the parties

to secure reinstatement of the case within sixty (60) days after the date of this order

by making a showing that the settlement was not, in fact, consummated; and in the

event that no motion is made for reinstatement within sixty (60) days of the date of
     Case 5:17-cv-00825-GTS-DEP Document 18 Filed 12/01/17 Page 2 of 2



this order, the dismissal of this case shall thereafter be with prejudice. Any

application to reopen filed after the expiration of that sixty (60) day period may be

summarily denied solely on the basis of untimeliness, unless the time period is

extended by the Court prior to its expiration.

      If the parties wish for the Court to retain ancillary jurisdiction for the purpose

of enforcing any settlement agreement, they must submit a request that the Court

retain jurisdiction over enforcement of the agreement or submit the agreement to the

Court for incorporation of its terms into an Order retaining jurisdiction within the

above-referenced sixty (60) day period for reopening the matter.

      The Clerk of the Court is directed to close this case.

      SO ORDERED

Dated:       December 1, 2017
             Syracuse, New York
